 1   PETER 0. SCHLUEDERBERG (SBN 137995)
     POSLAW
 2   5310 Carroll Canyon Road, Suite 230
     San Diego, California 92121
 3   Telephone: (760) 505-2205
     Facsrmile: (858) 792-7768
 4
     Attorneys for Defendant Andrea Schuck
 5
 6
 7                        UNITED STATES DISTRICT COURT
 8                      SOUTHERN DISTRICT OF CALIFORNIA
 9
10   ROBERT EMERT,                                  Case No. 23-cv-0230-RSH-AHG
11                              Plaintiff,
                                                    REQUEST FOR JUDICIAL NOTICE
12   vs.                                            IN SUPPORT OF DEFENDANT
                                                    ANDREA SCHUCK'S MOTION TO
13   LUIS VENA; ANDREA SCHUCK;                      DISMISS PLAINTIFF'S
     MATTHEWW. CORD;,PATTIC.                        COMPLAINT AGAINST HER
14   RATEKIN; DAVIDS. ~CHULMAN;                     PURSUANT TO FRCP 12(b)(l) and
     LORNA A. ALKSNE; DAVID J.                      12(b)(6)
15   DANIELSEN· MOORE, SCHULMAN &
     MOORE; ROBERT OLAGUE; AND                      Judge:       Hon. Robert S. Huie
16   DOES 1 - 20 inclusive,                         Courtroom:   3B
                                                    Date:        April 4, 2023
17                                Defendants.     PER CHAMBERS RULES, NO ORAL
18                                              ) ARGUMENT UNLESS SEPARATELY
19                                                ORDERED BY THE COURT.

20
21
22
23
24
25
26
27
28

                  Request For Judicial Notice in Support of Motion to Dismiss
                                                1
                                                                                23-cv-0230-RSH-AHG
 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that, pursuant to Federal Rules of Evidence 201 (b)(2),
 3   Defendant Andrea Schuck. respectfully requests that, in considering Defendant Andrea
 4   Schuck's Motion to Dismiss this Court take judicial notice of the following exhibit
 5   attached, herewith:
 6            Exhibit 1 (Page 3)        Findings And Order After Hearing for Case Number:
 7                         19FL0 10852N dated 10.7.2021.
 8            Exhibit 2 (Page 8)       Findings And Order After Hearing for Case Number:
 9                         19FL010852N dated 10.12.2021.
10         Exhibit 3 (Page 12)         Judgement rendered for Case Number: 19FL010852N
11                         filed on 1.24.2022.
12
13                                               PQSLAW
14
     Dated:      February 28, 2023               By: ISi Peter 0. Schluederberg
15                                               Peter Q. Schluederberg, Esq.
                                                 Attorneys for Defendant Aridrea Schuck
16
17
18
19
20
21
22
23
24
25
26
27
28

                     Request For Judicial Notice in Support of Motion to Dismiss
                                                     2
                                                                                   23-cv-0230-RSH-AHG
                     ROBERT EMERT
                            Vs.
  LUIS VENA; ANDREA SCHUCK; MATTHEW W. CORD; PATTI C.
  RATEKIN; DAVIDS. SCHULMAN; LORNA A. ALKSNE; DAVID J.
DANIELSEN; MOORE, SCHULMAN & MOORE; ROBERT OLAGUE; AND
                    DOES 1 - 20 inclusive,




  REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT
          ANDREA SCHUCK'S MOTION TO DISMISS




                       EXHIBIT 1
      ATTORNEY OR PARTY WITHOUT ATTOANEY {Name, Stole &r nlRIIIJor, anct 11ddrost1):                                                 FOR COi/RT I/SE ONL Y
                                                                                                                                                                    -
                                                                                                                                                                FL 340

       DAVIDS. SCHULMAN, CLS·F - SBN:                        165285
    .-MOORE, SCHULMAN & MOORE, APC
       12636 HIGH BLUFF DRIVE~ SUITE 200
       SAN DIEGO, CALIFORNIA 92130
     TEI.EPHONE HOJ 8 5 8 ~ 7 5 5 • 3 3 0 0 FAX NO. (OpllonatJ;8 5 8 • 7 5 5 • J 3 8 7
     E·MA1LA00AeSs(Op1biol):dschulman@msmf amilylaw. com
     ATTOANEYFOfl,-.}:ANDREA EMERT
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
            STREETAOORESS:   325 SOUTH MELROSE DRIVE
            MAIUNGAODAl:SS:  SAME AS ABOVE
          CITY ANO ZIP COOE: VI sTA, CALIFORNIA 92081
              BRANCH NAME: NORTH COUNTY - FAMILY LAW DIVISION
         PETITIONER/PLAINTIFF: ANDREA L. EMERT

    RESPONDENT/OEFENDANT:ROBERT EMERT

                 OTHER PARTY:
                                                                                                                  CASE NLMEll:R:
                              FINDINGS AND ORDER AFTER HEARING                                                    19FL010852N


   1. This proceeding was heard
      on (date): 10 • 7 • 21                     at (lime): 10 : 0 0 a • m •          in Dept.: 10 0 2          Room:
      by Judge (name): Lorna A. Alksne                                     □ Temporary Judge
      On the order to show cause, notice of motion or request for order flied (date):                by (name):
      a.    W Petitioner/plaintiff present                                                   Ill
                                                                                Attorney present (name): Sarah B • Bear, Esq.
      b.    W AespondenVdefendant present                                                    O
                                                                                Attorney present (name):
      c.    W Otherpartypresent Cathryn Young, Bsq.                                          W
                                                                                Attomeypresent(name): Matt Cord Esq .

                                                          ** matter was initially scheduled for 10:00 a.m., but
  THE COURT ORDERS                                        trailed to 1:30 p.m. to allow Father to appear in person

  2. Custody and visitation/parenting time:                As attached           D     on form FL-341      D    Other       D      Not appllcable

  3. Child support:                                        As attached           IX) on form     FL-342    □ Other          □ Not applicable

  4. Spousal or family support:                            As attached          0      on form FL-343      0    Other       D      Not applicable

  5. Property orders:                                      As attached          D      on form FL-344      0    Other       D      Not applicable

  6. Attorney's fees                                       As attached          0      on form FL-346      D    Other       D      Not appficable

  7. Other orders:                                         D     As attached             0     Not applicable

 a. All other Issues are reserved until further order of court.
 9. !XI This matter ls continued tor further hearing on (date):   at (time):         fn Dept.:
    on the following Issues: The court continued the RFO to November 29, 2021 to be heard at t h e
                              time of trial. However, ordered the parties to return October 11, 2021
                                      i f the orders we not followed.

Date: ;     o/ I       I \J                                                                   ►--------
► - _dJ_.cr,--------+-+-+-+-------
                   A




Approved as confom,lng fo          co,rt order.                                                                                              , .. ~
                                                                                                                                   oFFICEA   m"l'vr4->,..~
SIGNATUAEOFATTOANEYFOR           □     PETITIONER/PLAINTIFF                                                THEA PARTY   ;t~ fl.J'S ~J:(2.,l
                                                                                                                                                             Page 1 al 1
FcrmAdOf)l•dlorMDndataryUse                            FINDINGS AND ORDER AFTER HEARING                                                                www.ccurts.ta,gov
 Judfcla!Cou11tllalcalll0mla
 FL•~o  !Rev. January 1, 2012J                (Family Law-Custody an d Support-Un ff orm parentage)
        I
CfB' Essential
m.com fflForms·
 1   MARRIAGE OF EMERT; CASE NO. 19FL010852N
     ATTACHMENT TO FINDINGS AND ORDER AFTER HEARING
 2

 3   GOOD CAUSE APPEARING THEREFORE,
 4            The Request for Order of Minor's Counsel, Matt Cord, Esq., for temporary
 5   orders on the issues of supervised visitation for the minor children, pending the
 6   trial set for November 29, 2021 and November 30, 2021, came on for hearing by
 7   the court on October 7, 2021, at 10:00a.m. in of the San Diego Superior Court,
 8   Family Court, before Lorna L. Alksne, Judge Presiding.
 9            The Court ordered all parties to be physically present in the Presiding Judge's
10   department. Petitioner Andrea Emert's counsel, Sarah B. Bear, Esq., was provided
11   the ability to appear virtually due to COVID related symptoms. Petitioner's counsel
12   sought leave of the court prior to the hearing. Respondent failed to appear in person
13   at 10:00 a.m. Therefore, the court trailed the matter to 1 :30 p.m., in order to allow
14
                                    •
     Respondent, Robert Emert the ability to appear in person, per the Court's prior
15   order.
16            Petitioner, Andrea Emert appeared in person and her counsel Sarah B. Bear,
17   Esq, appeared telephonically. Respondent, Robert Emert appeared in person.
18   Respondent is a self-represented litigant. Attorney Cathryn Young, Esq., a ttorney
19   for minor child S          E       , and Attorney Matt Cord, Esq., attorney for m inor
20   child B       E      appeared in person.
21            The Court, from the parties' declarations and through their respective

22   attorneys' argument, made the following findings and orders:
23            1.       The Court confirmed the orders previously made by Commissioner
24   Ratekin on September 29, 2021, as well as the order made by Honorable Paula
25   Rosenstein on October 5, 2021, stating the minor child B                     E   is to be
26   returned to Petitioner forthwith, resume in-person learning, and Respond en t is to
27   have supervised contact.

28   I I I
                                                       1
                            Attachment to 10-07-21 Findings and Order After Hearing       :4:::
                                                                                          MSM
 1           2.    The Court repeated to Respondent that the orders were a lrea dy in
 2   effect and at the time of the hearing, he was violating the orders made by prior
 3   judicial officers.
 4           3.    Pursuant to Family Code 3011, the Court modified the orders m ade on
 5   September 29, 2021 and October 5, 2021 as follows:
 6                 a. Respondent is to only have supervised visitation with both minor
 7                    children (S     and B      Emert) forthwith . Supervised visita tion
 8                    shall be conducted by either a mutually agreeable supervisor or
 9                    professionally supervised. In the event the contact with the minor
10                    children is to be professionally supervised,              Respon den t   is
11                    responsible for all cost associated with the visitation.
12                b. Any form of telephonic, text message, email or virtual contact
13                    Respondent has with the minor child must be supervised.
14                 c. Petitioner is to have sole legal and physical custody of both minor
15                    children.
16           4.   The Court ordered the minor child, B               E       to be returned to
17   Petitioner's care forthwith and for the minor child to resume in-person lea rning by
18   October 8, 2021 . If the orders were not followed, the Court ordered the parties to
19   return on October 11, 2021. (It should be noted October 11, 2021 was a court
20   holiday- the Court meant to say October 12, 2021)

21           5.   The Court admonished Respondent of the improper condu ct of
22   allowing a third-party to secretly listen in on a therapeutic appointment.
23   Respondent confirmed he had five (5) adults listen into said appointment.
24           6.      Respondent misrepresented the facts to the Court, as it rela ted to
25   his conduct with the school and the existence of a Temporary Restraining Order
26   against Minor Counsel Matt Cord, Esq.

27   / / /
28   I I I
                                                     2
                          Attachment to 10-07-21 Findings and Order After Hearing
 1        7.     Family Code 3048 Findings:
 2              a. The Court has jurisdiction over the minor children, as California is
 3                 the Children's home state, no other state has assumed jurisdiction,
 4                 and this Court is the appropriate forum.
 5              b. The habitual residence of the Children is the County of San Diego,
 6                 State of California, United States of America.
 7              c. The responding party was given notice and opportunity to be heard
 8                 in the manner provided by law.
 9              d. Both parties had knowledge of this hearing and were personally
10                 present.
11              e. The parties were advised that any violation of this Order may result
12                 in civil or criminal penalties, or both.
13        8.   The Request for Order was continued to the date of trial commencing
14   on November 29, 2021 through November 30, 2021.
15        9.   All other orders not in conflict remain in full force and effect.

16
17

18                    ****************** End or Order r / r l r ~ U U U U U U
19

20

21

22

23

24

25
26
27

28
                                                3
                      Attachment to 10-07-21 Findings and Order After Hearing      :k
                                                                                   MSM
                     ROBERT EMERT
                            Vs.
  LUIS VENA; ANDREA SCHUCK; MATTHEW W. CORD; PATTI C.
  RATEKIN; DAVIDS. SCHULMAN; LORNA A. ALKSNE; DAVID J.
DANIELSEN; MOORE, SCHULMAN & MOORE; ROBERT OLAGUE; AND
                    DOES 1 - 20 inclusive,




  REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT
          ANDREA SCHUCK'S MOTION TO DISMISS




                       EXHIBIT 2
      ATTORNEY OR PAATY WITHO\IT ATTORNEY (N•~• Slalo Bar 11umbtJ1, and addtess):                                              FOR COURT USE ONLY
                                                                                                                                                             -
                                                                                                                                                        FL 340

       DAVIDS. SCHULMAN, CLS-F - SBN: 165285
    1-MOORE, SCHULMAN & MOORE, APC
       12636 HIGH BLUFF DRIVE, SUITE 200
       SAN DIEGO, CALIFORNIA 92130
     TaEPHONl:N0.:858 • 755 · 3 3 QQ         FAX NO. (OplionalJ:8 5 8 "7 5 5 · 3 3 8 7
     E-MAILAOOREssf0p1ona1i:dschulman@msmf arnilylaw. corn
     ATTORNEY FOR (NameJ:ANDREA EMERT
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
         STREST AOOAl:Ss: 3 2 5 SOUTH MELROSE DRIVE
         MAIUNGADORESS: SAME AS ABOVE
        CITY ANO ZIP CODE: VISTA I CALIFORNIA 92081
                IIRANCH NAME:       NORTH COUNTY - FAMILY LAW DIVISION
            PETITIONER/PLAINTIFF: ANDREA L ,      EMERT
    AESPONDENT/DEFENOANT:ROBERT                       EMERT
                   OTHER PARTY:
                                                                                                              CASE NUMBER:
                                FINDINGS AND ORDER AFTER HEARING                                             19FL010852N

    1. This proceeding was heard
       on (date): 10 . 12 . 21                    at (time): 9 : 0 0 a . rn .          in Dept.: 10 0 2          Room:
       by Judge (name): Lorna A. Alksne                                                 D
                                                                                 Temporary Judge
       On the order to show cause, notice of motion or request for order filed (date):                by (name}:
       a.    an Petitioner/plaintiff present                                IXI Attorney present (name): Sarah B. Bear, Elsq.
       b. D Respondent/defendant present                                    D Attorney present (name):
       c. IX) Otherpartypresent cathryn Young, Esq.                         IX) Attorneypresent(name):Matt Cord Esq .
                                                         ** matter was initially scheduled for 10:00 a.m., but
  THE COURT ORDERS                                       trailed to 1:30 p .m. to allow Father to appear in person
  2. Custody and visitation/parenting time:              As attached          D     on form FL-341     D    Other     D      Not applicable

  3. Child support:                                      As attached          IX) on form FL-342       D    other     D      Not applicable

  4. Spousal or family support:                          As attached          D     on form FL-343     D    Other     D      Not applicable

  5. Property orders:                                    As attached          D     on form FL-344     D    Other     D      Not applicable

  6. Attorney's fees                                     As attached          D     on form FL-346     D    Other     D      Not applicable

 7. Other orders:                                        D     As attached            D    Not applicable

 8. All other Issues are reseNed until further order of court.

 9.   !XI  Thls matter Is continued for further hearing on (date): at (time):            in Dept.:
      on the following issues: The court modified the orders from 10. 7. 21 and continued RFO regar ding
                                        child custody and visitation to the trial scheduled for November 29,
                                        2021 and November 30, 2021.
Date:       /D / 1~a,,/
Approved as conforming to court order.


►
SIGNATURE OF ATTORNEY FOR

Form Adopted for MMdalory Uso                         FINDI   AND ORDER AFTER HEARING                                                         ,vww.c:ourts.Cll.gov
 Ju<ficlal Council of CalllOtnll
 FL•340 JRev, Jallllll\' 1, 20121            {Family Law-Custody and Support-Uniform Parentage)
cm· Im
     Essential
       Fonns-
ceb.co111
 1   MARRIAGE OF EMERT; CASE NO. 19FL010852N
     ATTACHMENT TO FINDINGS AND ORDER AFTER HEARING
 2

 3   GOOD CAUSE APPEARING THEREFORE,
 4         The Request for Order of Minor's Counsel, Matt Cord, Esq. for temporary
 5   orders on the issues of supervised visitation for the minor children, pen ding the
 6   trial set for November 29, 2021 and November 30, 2021, came on for hearing by
 7   the court on October 12, 2021, at 9:00a.m. in the San Diego Superior Court, Family
 8   Court, before Lorna L. Alksne, Judge Presiding. The hearing was a result of
 9   Respondent's failure to follow the orders made on October 7, 2021.
10         Petitioner, Andrea Emert appeared in person, as did her counsel Sarah B.
11   Bear, Esq. Attorney Cathryn Young, Esq., attorney for minor child S               E
12   and Attorney Matt Cord, Esq., attorney for minor child B         E    , each appeared
13   in person. Despite the order to appear in person and notice given of the hearing by
14   counsel and the Court, Respondent, Robert Emert, self-represented litigant, failed
15   to appear in person and filed for a disability waiver.
16         The Court, from the parties' declarations and through their respective
17   attorneys' argument, made the following findings and orders:
18         1.      The Court confirmed Respondent remains in violation of the order, as
19   the minor B      E    was not to returned to Petitioner's care and remains out of
20   school, despite the orders in effect.
21         2.      Pursuant to Family Code section 3011, the Court modified the orders

22   made on October 7, 2021, as follows:
23                 a. Respondent is to have no contact with either minor child (B            or
24                    S    E) pending the trial on November 29, 2021.
25                 b. Petitioner retains sole legal and physical custody of the minor
26                    children pending the trial on November 29, 2021.
27                 c. As Petitioner remains to have sole legal custody of the children,
28                    Respondent does not have any authority to speak with the minor
                                                     1
                          Attachment to 10-12-21 Findings and Order After Hearing          :½
                                                                                           MSM
 1                    children's medical providers or school. The school does not n eed to
 2                    respond to or communicate with Respondent, as Petition er is the
 3                    parent who has the legal authority to make any a nd all
 4                    developmental, educational, and social decisions for the ch ildren,
 5                    pending the trial on November 29, 2021.
 6          3. Family Code 3048 Findings:
 7                 a. The Court has jurisdiction over the minor children, as California is
 8                    the Children's home state, no other state has assumed jurisdiction,
 9                    and this Court is the appropriate forum.
10                 b. The habitual residence of the Children is the County of San Diego,
11                    State of California, United States of America.
12                 c. The responding party was given notice and opportunity to be heard
13                    in the manner provided by law.
14                 d. Both parties had knowledge of this hearing. Petitioner attended the
15                    hearing and Respondent did not appear.
16                 e. The parties were advised that any violation of this Order may result
17                    in civil or criminal penalties, or both.
18          4.     The Request for Order was continued to the date of trial commencing
19   on November 29, 2021 through November 30, 2021.
20          5.     The Court set a Trial Readiness Conference for November 16, 2021 at
21   9:00 a .m .
22          6. All other orders not in conflict remain in full force and effect.
23

24

25

26
27

28
                                                    2
                         Attachment to 10- 12-21 Findings and Order After Hearing   4-
                                                                                    M SM
                     ROBERT EMERT
                            Vs.
  LUIS VENA; ANDREA SCHUCK; MATTHEW W. CORD; PATTI C.
  RATEKIN; DAVIDS. SCHULMAN; LORNA A. ALKSNE; DAVID J.
DANIELSEN; MOORE, SCHULMAN & MOORE; ROBERT OLAGUE; AND
                    DOES 1 - 20 inclusive,




  REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT
          ANDREA SCHUCK'S MOTION TO DISMISS




                       EXHIBIT 3
                                    '
   ATlORNEVCllPMTY'MTHOUT ATTORIE'f, ~     ._a.,,__,...,.._                                                      l'Olt COUIIT ~   OM.r
                                                                                                                                             -
                                                                                                                                          FL 180

  -DAVIDS. SCHULMAN~CLS-F- SBN: 165285
    MOORE,_SCHULMAN ls MOORE, APC
      12636 HIGH BLUFF DRIVE, SUITE 200
     SAN DIEGO, CALIFO~ 92130
   TaB'tlOltE NO.: 858-755-3300           FAX NO, '°""111$ 858-755-3387                                                   E D
                                                                                                        fClllt,,I ...L.,.,._.
   E.f!N.MXIAl!llto,i,-o; dachu.lpian@mamfamilylaw.com
   ATTOANEYFOR,-.,: ANDREA,IEMERT
   SUPERIOR COURT OF CALIFORMA, COUNTY OF              ::,AN    IIN'.1::-l_}                              JAN_1.4 2022
         mmAD11&1:325 .SOUTI'H MELROSE DRIVE
         w.uoAD0RE88; SAME~ ABOVE                                                                   By: A. Husted, Deputy
                            CfuJFORNIA 92081
        crTYANDZPCOIJE:VlSTA,
             lfM:ffMiE:NORTH ®UN'IY - FAMILY LAW DMSION
   MARRIAGE OR PAR'l'NEMflP OF
           PETITIONER!ANDREA;L; EMERT
        · RESPONlENT':ROBERTiEMERT
                                          JUDGMENT                                                 CAIIENUiaft
   [D Dll80LUTION                       □ LEGAL 8EPARAT10N                     □ NULLITY           19FL010852N
      □ --only
        □ RaNrvlng )mtedlcf:lon over 1ilrnllnaUon of madtal or ~ t i o
             pMMl'9blp.-.
       (I] .....1-..wlon Nllniild·laues
   Dlili .......-or danilllc --~patu8 ende:
           -
1. □ T h i s ~ □ conlalna penonal conduct res1ralnlng orders □ modllee ulatlng ramming Clr'Cm.
         The  •••e     orders are 001alned on page(•)           of the attachnMn. They e,cplre on (date):
2. Thia pooeecl,g waa hWd • follows: (XI Default or uncontested □ By dectaralon IM'lCler Family Code aection 2336
   ID Conl8'ted □ ~ 1n court
   a. Date: Novembet          29,
                                2021                  Dept.: 1002                   . Room:
   b. Jl.dcial officer (name}: Honorable Laura .Allame                             □ Temporary judge
   c.   ID Petluner prnent In court           IX] Attorney pre.ent In court (name): Sarah B. Bear, Esq.
   d. □ Reepondent preMnt In court            □ Attorney pn,sent In court (name): Failed to peraonally appear
   e. □ Clamant preNnt In coe;rt (name):                                           □ Attorney present In C0Urt (11M18):
   f. (XI Oher(apdyname): Matthew Cord, Esq. (Minor Counsel)                       Catheryn Young(Minor Counsel)
3. The aut BCql.ired junadldlon of the respondent on (date):         September 17, 2019
   a. IXI The n,epondent waa served wlh proceaa.
   b. □ The respondent appeared.
THE COURT ORDERS, 000D CAUSE APPEARING
4. a.   W
        Judgment of dlaolulan Is entered. Marital or domestic partnership status Is tennlnated and the parties are restored to the
        status of llngle persona
        (1) (i] on (,ped{ydaleJ: June 24, 2021                                         .
        (2)    D on a dale to bi determined on noticed motion of either party or on atlpolatlon.
   b, □ Judgment of legal separation la entered.
   c. □ Judgment of nullty la entered. The parties are declared to be single persons on the ground of (specify):


    d. □ Thia judgment wll be entered nunc pro tune as of (date):
 ·. e. IX] Judgment on reserved Issues.
    f. The D petHloner'e     □ respondent'& former name la restored to (apec/ly):
   g. □ Jll'l8dlctlon Is reeervedpver all other Issues, and all present orders remain In effact except ae provided below.
   h. IX] Thi• judgment con1alns;proyialon• for child aupport or family aupport. Each party mu•t complete and file with the court a
               ChJld Support Case Reglstly Fonn (form FL-191) wllhln 10 days of the date of thla Judgment The parents mUAI notify the
               court of any change In 1he Information submitted within 10 days of the change, by ffUng an updated form, The Notloe
               of Right:, and RnponslblltJea-He/th-Care Coats and Relmbumement Procedures and lnfomlatlon Sheet on Changing a
               Cb/kl SUpport Order (form FL-182) Is attached.                                                                          .._ 1 ot z
F~~                                                              JUDGMENT                                                  Fanty Code. Hffl=·
R.•tllDfl'aV. .1u1y1,ao121                                       (Famlly Law)                                                      _ __,,,._c:aoo,,
CfB'I  I 11ntlal                                                                                   EMERT, ANDREA #30437
- - EJFomltr
    ("""' -     11-a1-, liit ............ ,-i,ic
          MARRIAGE OF EMERT                                                                      j19FWU>ss2N
   4. I.    lil Tl1e Clffidren of'1hla mllrrlage or domeltlc partnership are:
                 (1)[D Name                                                                 Blrthdale
                             B      E
                             s     g
                (2) □ Parentage la ~blahed for cl'lldren of this Nlatlonahlp bom prior to the marriage or domeatlc par1n81'1hlp
          J. ID Chld ~ a n d ~ (pa.a•u time) . . ordered• •t bl\ 1n the attached
                (1) W Se11ement ~ lllp•lllillon for Judornen. or ohrWl'fla, 1Q'8811181dwhlch contn the Information

               (2)  § requhd l7f Faimly Coda NC11o113048(1)~ wdttea orut '7 ilefault
                        Chld Cuatody'and V1alaibJ Ordllr' Att8Dhment (bm FL-341).
               (3) .
               (4) - Prwoully •         ...._.In....,.
                        .,...,.,,,_OtrlerlorQAlbtyltdbr~o/Chldten(formFL-355).
                                                          cue. Cae n&.mber:
       k. IEJ Chit ·IUPP)l't-11 ordar.a as aat b1h In the al8Ched
                                                                                             Court

               (1) IXI Se41anwt ......-.         •llallorltor WDna1t. or Olharwrltlan ~•which contab the declaratbna

              C2)
              (3>
                   §   l9qlJlrild l7f Family Coda w1on A086(8>~ wrlttea Older b7 .H f&alt
                       Cllld SflPIIO(t IIJb,......, Md OrdlrMacmall (bm FL-342).
                       ~ fl> Cwblalr orAlodl)- aid Support end Order(focm Fl-350),
                                                In
              (4) - ~ I 1!1..,_ anahr'CMe. Caaerunber:
      I. W S,,C.,..., cbl ailc ..,_, orfamlly .auppartla ordered:
                                                                                               Cou1:

               (1) □ R....-dfilrM:ndaMn•lii1lclrl•r8'alallD                 □ petilloner   □ respondent
               C2) □ Jt4-li :Ii iu lefmln Bl! d 10 ordllr .-.i or patnar aupport tc □ petit1ora' □ l'Nl)Ol1dant
               (3) 0 Al Ill btl·_, ttll lltaabed S,XX,... Pna; Ol'Ft/lJlly SUppott order Attadrnent (fam Fl-343).
               ~ □ Al Mtfortl n ~ ataac:liid...,Mlhl .-,neft, atlplAaUor1 for µfgment, or Olherwrlllen agreemert.
               (li) mJ Ob1r (lped'yj: Attached written order by default

      m.(D ·Prope,tr cMllon la ~ • aet-rcrlf In ht attached
            (1} □ s . t l a n ~ _,...., br Judgment, or olher wrtien agn,ement
               ~ □ PIOpMY AlfllchmMI i> JUll{/lanl(bm FL-3e).
               (3) 011w ~ Attached written order by default
                   ID
     n.   l!l Atllclrney a  met~ . . ordered u aet bth 1n the attached
               (1) □ S1■amariagritement, aflpUlalonb'jldgment, orotherWlltar1 agreement
               ('i) □.,,,., .Fees _, Coda Ofder(form R.-348).
               (3} (I] Olher (apeclfy): Attached written order by default

     o.   ID Oller (,ped(y):     Rmmbunementa and SBDCtiona were ordered by the Court. Court made ordera regarding
                                 Minor'•
Each attachment to 1111 judgment la lr.wpo.lllad Into thia Judgment, and the p a   are or t s
                                                                                            to com
                                                                                                 ~ • each allactvnent'a
provisions. Jwi9cldlon la reeerved b make oiler ordarl necessary to CfflY out this        .

Date:         /-~Yr ~ 'Al._
5. Nt111berofpageuctached: ]6                                                   □ sa-w.nNFOU.OWll,t.BTA:i.OFFICER LORNAAU<SNE
                                                                  NOTICE
  D1880lullon or:legal eeparallon may autcmalc:ally cancel the rtghls of a apouae or domBBtlc pa,tner under the oiler apol.lle'• or
  dorneatlc partnar'a wll, wet, retlrament plan, power of aHomey, pay-on-death balk aca>Unt, tranafer-on-dea1h vehlcle reglltratlon,
  auNIYonihlp rlghta ., ffff property awned In joint t-noy, and ffff other Bimlla' property lntemt. It d088 not automatlcaly cancel the
  i1ghta of a spouaa or domeetlc ~er •• benefldary of the other apouae's or domestic partner'• llfe lnauranm polcy. You ahoud
  review these mdera, • well ea any credit cads, other credl accounts, lnauranoe pollclee, retirement plans, and credit reports, to
  determine 'Mlefher they ahoud ~ chMged or whedler you should take any other actions.
  A debt or obllgallon may be aaalgned to one party aa part of the dluolutlon of property and debts, but If that party does nol pay the
  debt or oblgatlon, the credllor ~ be able to colect from the other party.
  An earnings anlgnment may be laaued wllhout addllonal proof If chlld, family, partner, or spousal support la ordered.
, ArPj party required to pay support must pay lnlareat on owrdue amOWllB at the •1egal rate,• which la a.irrently 1Opercent.
FL-tea,-• .uy1,21)121                                              JUDGMENT                                                       P1111t12ar2

gJ! IIC:                                                           (Family Law)                  EMERT, ANDREA #30437
                                       NOTICE
                                        I
                                              OF RIGHTS AND RESPONSIBILITIES
                                                                           .
                                                                                                                                                           F'L-192

                                   ( H•lth-Care Costs and Reimbursement Procedures)
     If you have a chlld aupport order lhat Include& a provision for                     b. Nonpayment. If you clalm that Ile other parent has falled
     the rembcnement of a portion of ihe chllch or chldren"a                                tc pay you back for a payment. or they have failed to make
     heall,-cant 00ltl and thole C08bl     a,.
                                             not paid by lnaurance,                         a payment to the provider after proper notice, )'00 may file
     fh•llwHD:                                                                              a n,queat for the court to resolve the dlapute. The court will
    1. Notlc:e. You muat glwe the °'181' J8W1t., ltamizllld                                 preeume flat If unlnaued coata have been paid, llo&e
    statement d 118.dwgel that have been bllad for any health-                              costl Wllf8 reasonable.
    care mm not paid by lnannce. You muat gllM 1h11                                     c. AUlal'Mf• fNe. If the court decides one parn hail been
    8lalernent to lie oller pMlnf ~          •,..,._.time,
                                                     but no                                  uniuaonable, It can Cider that parent to pay the other
    more than 30 clap .,thole COi& Mnt gh,wn to you.                                         pa,wir.a11omeyataeaand001ta.
    2. Proof ~fllll ~ If you 1M anact, paid all of the                                  d. Court l'omla. Ule forms .EL:aQQ and EL!ti9 to get a court
    unlnlured 00111, ~ muet (1) ghreltf:ie oh!',... ~that                                  elate. See form fl:300-INEQ for Information about
    you paid t,wn and (2) •k f o r ~ for the 01181'                                        complellig, ~ . and aervlng your court papen.
    pa..... 0Clll'MIRlilnld lfwe ofhile C0III.
                                                                                        .. Court-onlnd IM&nnce aMl'llllt- If• pe,e,tprovldea
    of thellhun,d--
    3. Proof ~ ...........nt. If yail have paid OMf yoll'ahare

             ,au
    proof that
                               youmuet (1) WIie Ill alllr saatt
                   paid yo&r:1hn, (2) 81k hit._ olllar' panint
                                                                                        heallMalt lneurance .. ordered ~ the oourt. lhat lnuwlC:e
                                                                                        must be laed at al tlni• to the axlenl that It Ill avallable for
                                                                                        heall,-Qneoiata.
    pay hill or,_lbn of1bltcm&adhcl;to 1w hNllt-car9
    prowlder, and (3) glll't fNt olhllr pan the i'lfoll1natb1                          a.   Eknen ID prow. The parent ctalmlng that the coverage la
    necelBJfDr hit ·, -.nr to beabli to        pay,-   ba.                                  inadeql181e to meat fie c:tild'a needs has the burden d
                                                                                            proving that lo the court.
 4. p.,,..,_.bynolflld parant.          "'°"
                                           recelVe nollce tom.
parent that., 11.,_ld health-cae 0Gll hM been lncured,                                 b. Coat cit addltl01ial GOV9r1lg8. If a parent pl.Rhaaea
yo&l .ffllilt pay yo1r lhn ~ -that caiit within 119 llme lhe cowt                         heallh-cn lrillnnoa In addUon to that ordered by the
ordn; or I ll&aut·ta not apedlld l pel1od of fllne. you .                                 oowt. that parent ITIJ8t pey al t,e 008tl of the addlionaJ
rooat mau paymn {1) . - . . 30 ~ frbmlie tme-you-were                                     00'l8llllllB. In addllon, I a parent uses attemaave coverage
glll'en notice affle MIIXllt due, (2):aocordlng to·any payment                            that com mcn·IWI Ile 0bWer11ue provided by CCXlrt order,
achedule ..    n,, ,_   ~ PffMdlr, (3) aocontnu lo a                                      that parent muat pay the clffa•a.
schedule agremto        -.--~}OU        and 1118 Olher'.-.,t. or
(4) acccidng to a lchedlN adopted by ht cowt.
                                                                                       7. Prefernd hNllh proo,ldera. If the court-onierad coverage
                                                                                       dealgnalea. prefenad healh-cale provider, that provider
5. Gotnsl to court. SomelmN para,ls get Int> dlaagraernenta                            must be Uled at al tlmell consistent with lhe tenns of the
about healll-c:n CClllta. If you and the other parent camot                            healti nannce polcy. When an/ parent usea a health-care
resolve the IIJation aftertaldng elx>ut It, you can request that                       provider dhel: than the preferred provider, any heallh-care
the court make a decision.                                                             costl 1hat would haw been paid by the pral'et,ad health
                                                                                       pro111cter If that provider had been UNd must be the sole
a. Dilputld chugie.1tyou dilpute a charge made by fie                                  reeponal)lllly of the parent lncum,g those COits.
   ott.. psent, you may9e a requeat forfl8 court to '8IOlwl
   lhe dllpUle, but ody If you pay that ohage befont llng
   your requeat.
                (,,...l_n_fo_rma
                             ___ tl_on_A_bo_u_t_C_h_ild---:-S-u-pp_o_rt"'."'for:--:-ln_ca_rce_ra_te:--:d:--o-r-=o::--e:-ta-:-ln-ed-:-:P:-a-re--n::"t,

1. Child auppart. Undl!lr current Cillflolna law, chld aupport                        3. Tlllllng. Ch8':' iupport wlU automatlcaDy restart at the old
ordered ordianged aler Deoember 31, 2020, aufomatlcaly                                amount h, fht day d the first fuU month after the parent ls
stops If the parent who hal to pay                                                    releaeed. If you need to change your chlld support order, see
                                                                                      page 2.
•     la conlned aganst their wll for mofll than 90 days In a row
      In Jal, prlaon, juvenile detention, a mental health facDlty, or                 4. Pat confhMment. If your child support order waa entered
      other lna11tutlon.                                                              or modified between October 8, 2015, and Dec:amber 31 , 2019,
                                                                                      and you were oonflned against your wtll for more than 90 days
z. ExceptloM. Child aupport does not automatlcaly atop If                             In 8 row during the same time frame, you may also qualify for
the parent who has to pay                                                             relief. See Item 5 for how to obtain more lnfonnatlon.
• 11 confined for
    o domel1lc W>lenc:e against tl'le other parent or child, or                       5. Mon.Info. For more lnfonnatlon about child aupport and
    o fallng to pay a chld auppori order, or                                          lncan:erated parents, see FamAy Code seglon 4007,5 or talk
• has money available to pay chlld support.                                           to the famjly iaw facllitalor or self:he!p center In your county.

                                                 NOTICE OF RIGHTS AND RESPONSIBILITIES
                                                 Health-Carv Coats and Relmburaement ProcedWN
                                                                                                                                   F ~ Cocle, ff
                                                                                                                                             .
                                                                                                                                                   41 1 -~~=
                                                                                                                                                        l'lgetof2



                                                                                                                 EMERT, ANDREA #30437
                                         NOTICE OF RIGHTS AND RESPONSIBILITIES                                                             FL-192

                                       ( lnfonnatlon Sheet on Changing a Chlld ·Support On:lej
    General Info                                                              What fonna do I need?
The court ha made a chlld IUl)pOl't order In your case. Thia                  If you are asking to ch111ge a child aupport order, you must fill
order wll remain the aame unlaa pna of the parent. requests                   out one of thne forma:
thaft1e support be changed (rnocljled). An otder for chld
aupport'81 be modified by flng a)requeet to change c:bld                      • Form fk30Q. RequNt for Order or
support end eerWlg tie dher ~ l If both parents agree on                      • fooD El-380, Nolloe of Mollon -end Motion for Slrap/llied

with the COllt        a..,,.,,,
a new chld 8UA'(llt amouit, they c!an coulplaM, algn. n 1119
                          "1 Sllablall or Modify Child Support
and Orderfform R,-350) lNa69: If the local child ausiporl
                                                                                  Alodlllcallon of Order for Ch/Id, Spouaal. or Family Supporl
                                                                              You ll1Ult lll8o ,. out one of theae forms, and alach proof of
                                                                              Income for the paet two monthl (lb yocr paycheck nJba):
9ncyll lrNolwd In        cae,     p.      It.hut
                                        be Mlwd wllh any                      • fonn fL-1§0, n:ome and Expense Declar&liori or
l8qld to change chlU.upport arid approve any agreement.)                      • Ecxrn EL-155. FlnMOla/ Stalement(SkrfJlllled)
On'lne ........p GQlde          .                                             What If I am not...,,.. which foma to flll out?
For men lllb1Dlllon about how dfld support works, vall:                       Conlad Iha famllv law faqltatpr or Hfhalp·aawc In your
MM;. . . JW1&G&CINSrHf:irnnt.                         .                       cocny.
wt-, a Chici·SlllppoltOrdar llaiJ Be Changed
The ccut .............. liinga-when orda1ng the payment
                                                                              Nwyou Ill out the     --.11e      1hem wlh lie court deft and
                                                                              ..t for a healng date. Wrla e. t-,tng dabr on ht b'm.
of chld support                                                               The cleft ma, aak you lo pay a.Dig fie. If you ca,not affcrd
•     Fnt, the runbel" at cHdren ll ·consldered, along wlh lhe
                                                                              the fee, • out theie rorma,1oo:
      pelCllllage dime each parent ha phyalcal custody of ht                  • EooD FW:OQ1, Requeat ,r, WeNe Co'6t Feea wt
      chlldrein.                                                              • EooDEWG, Orderon CoudFee ~(SupedorCouttJ
•     Next, 1he net dlaposable 1110011.,a of both parvma are                  You muat seiw a. oClw .--,t. If lhe local chief aupport
      datemiwl (whk;h la how mucti money II lal each month                    agency II lnvohed, N1W I too.
      dertmc91 aid cedllin other ftllirna lite healtl lnannce,                •   This meana IOffl80ll8 18 or over-not you--muat serve the
      11110f1 cka, or OCh!N' chld suppb,t ordered and paid are                    other perent cqa of your tied C0ll't forms at leat-11
      aublraclldtanl~-~            ~ ) . The court can also                       court eta,- belore the hearing. Add I calendar dayll If
      look at eaming abllty I a paNlril i..not wortdng.                           you sane by mall wtihlr, caltomla (188 Code of CW
• The COi.it conalderl boll ~ tax 1lllng stalul and may                           Prooedure ledlon 1005 for other lltualons).
  anldel" filidlhlpa, IUCh • thft colt of ralllng a d1lld of                 •    Court daya are weekdayt when the court la open for
  another relatlollllhlp who hee wlh a parent.                                    MNU (Monday hough Friday except court hollclaya).
A parent can request lo change an eodltlng order for chld                         Calendar dllya Include all daya of lhe month, lncludlng
aupport when the net clapoeable Income of one of the pan,nta                      weekends and holdaya. To ftnd court holldaya. go to
changes, pmera,g time dlangea1 or a new child la born.                            M)W.axpfs.qa,qzyApq&tav,,hlm.
                                                                             The server must also serve blank copies of boltl of these forms:
Exar'lll)IN                                '
•     You have been onkRd to pay $S>0 per month In child                     • Form FL;:320,_ffiJspontllve Declanlllon to Request for Order
      111pport. You loH ya.I' Job. vou;• contnue to ewe $500                 • fonD FL-1eo, 1noome and &penN Declatatlon
      per month. P'l8 10 pen:ent ir.. on any unpaid support.                 Then the HMII' Illa out aid algrll a Ptod d S81V/ce (fm:m
      l6llela you file a rnolon to modify your chld support to a             ~ or gm fl:330). Take Ills form, plus one a:lPJ, to the
      lowet amount and the cowt ordera a reduction.                          clerk and file It at least one week before your hearing.
•     You are cunanlly receiving $300 per month In child support             Go to your hearing and Uk the Judge to change the
      from the OCher parent, ~ net Income has Just Increased                 eupport. Brtng your lax returns from the Int two y8lll'S and
      aubetantlaly. You wtll continue to receive $300 per month              your last two montha' pay atuba. The Judge wll look at your
      unlelsyou tie a motion to modlfY yoaar c:hld support ID a              lnbmallon, a.ten to both parents, and make an order. After
      higher amoWlt and the court ordera an Increase.                        the heartng, fin out
,     You are paying chld support~ upon having phyalcal                      • Form FL-340, Findings and Order Alter Hearing and
      custody of your children 30 percent of the time. Ms
      several months It tums out thal you actually have physical             • Fonn FL,-342. Ch/Jd Support lnformatJon and Order
      custody of the c:tiknn 50 percent of the time. You may flle                 Attachment
      a motion to modify child support to a lower ameult.                    Need help?
How to Change. Chld support qnler                                            Contact the famHy law facH)tator or aelf:help center In your
To change a chld support order, yoµ must fie papers with the                 county, or cal your ODUnty'a bar auoclatk>n and ask for an
COl.l't. Remember. You must rotlow the order you have now.                   experienced famly lawyer.

FL-1112 (ReY• ......., 1, 2022!                     Notice OF RIGHTS AND RESPONSIBILn'IES                                                  Pap2of2
                                                   lnfomtaUon Sheet on Changing a Child Support Order
~,~                                                                                                  EMERT, ANDREA #30437
JIIBRfAGB OF         BIDRT                             CAP NO, 19FL0108S2N
                                   A'M'ACJDIB.NT TO
 JUDGIIIBIIT       oil USBRVBD J8StJE8 AFTER DBFAULT TRIAL (FL-180)
                 The parties were ordered to appear in person for the trial, which was

scheduled to begin on November 29, 2021, at 9:00 a .m. before Honorable Lorna

Alksne in Department 1002. The Court previously ordered all parties must

attend all hearings in-person, unless the Court provides permission in advance

of said hearing. Prior to the contested trial,     no party requested permission to
appear virtually. 'lberefore, the order for all parties to appear in person

remained in full force and effect.

                 On November 29, 2021, Petitioner, Andrea Emert appeared in-
person, along with her counsel, Sarah B. Bear, Esq. _Matthew Cord, Esq., the

attorney appointed for the minor child B           E   , appeared in-person,. as did

Cathryn Young, 'Esq., the attnmey appointed for the minor child S               E

Respondent Robert Emert, a self-represented litigant, failed to appear in person

for the trial.

             Prior to the commencement of the trial, Respondent noticed an ex

parte hearing. 1he        e,c:   parte hearing was denied by the Court. Due to

Respondent's failure to adhere to the court order to appear in-person, the Court

proceeded with a default trial.

             I I I
             I It
             II I
                                           - 1-
               After hearing the arguments of counsel, offers of proof by Petitioner's

 counsel and reviewing the evidence admitted, the Court made the following

 orders contained below. The parties to these orders are Petitioner Andrea L.

Emert, hereinafter referred to as •Petitioner.• and Respondent Robert Emert,

hereinafter referred to as 111Respondent. •

L       ST&TISTICAL DU'bRMATI01'


              Th.e parties were married on September 30, 2006 and separated on

August 19, 2019. The duration of their marriage was twelve (12) years and ten

(10) months. The parties Martial Status was previously temiinated by the Court

effective June 24, 2021 and a partialjudgment was entered on June 24, 2021.

              The parties have the following minor children:

              Name                     Birth Date                Age          Sex
                                                                                             i
                                                                                         i   !
    B     E                                                14           II               .   '
                                                                                             ;'



    S     E                                                12           F

     1.       BOU8P9QLD ,J'URin81111108

              The Court determined there was an inequitable division of

household furnishings. Respondent received $2,000.00 more in household

furnishings than Petitioner. This amount was offset by the inequitable division

of vehicles as stated below.

              II I
              II I

                                         -2-
      2.    VBBICLBS

            The parties have two vehicles at issue a 2007 Nissan Pathfinder and

a 2004 Honda Accord. The 2007 Nissan Pathfinder is valued at $2,846.00 and

the 2004 Honda Accord is valued at $4,323.00. The 2007 Nissan Pathfinder is

awarded to Petitioner as her sole and separate property without offset. The 2004

Honda Accord is awarded to Respondent as his sole and separate property

without any offset due to Respondent receiving $2,000.00 more in the division

of the household goods.
                   '
     3.     LD'B IJISURAJfCB·POLICIBS
            Base'd on the disclosures, there are two (2) life insurance policies at

issue, Petitioner's Amer Fidelity Voluntary Life and Petitioner 1s Texas Life

Insurance. The life insurance policies do not have any cash value. Both policies

are awarded to Petitioner as her sole and separate property without offset.

     4.     LOAll J!ROK WD'B•s IPATBBR

           The Court assigned the debt to Petitioner's Father as her sole and

separate obligation.

     5.    LO.All l"ROII HUSIIAIOYS MOTHBR

           The Court notes that Respondent contends there is a loan from his

mother and he claims the loan is community property. The Court found there

is no evidence of such loan. Petitioner is not responsible for payment of the loan.

            II I
           I I I
                                       -3-
      6.     CREDIT CARD DBBT

            At the time the parties separated there was a community credit card

 debt in the amount of $51,912.20. Tiie community debt includes the following

 accounts: Chase Slate Credit Card Acct. x9867, TJ Maxx World Mastercard

 Acct. x8488, Mission Federal Credit Card Acct. x208Q-70, Respondent's Chase

 Slate Credit Card Acct. xll 76, and Respondent's Capital One Visa Credit Card

Acct. x9809. The Court assigned each party one half the debt. Each party is

responsible for $25,956.10.

     7.

           Any debt Respondent may have for the 2020 truces is awarded to

Respondent as his sole and separate obligation,

     8.

           The Court determined Petitioner's CALSTRS account is Petitioner's

separate property with a comm.unity property interest. Petitioner has a separat.e

property interest of $38,083.66. There is a community interest in Petitioner's

CALSTRS account totaling $84,695.28. Respondent has an interest in the

account which totals $42,347.62. However, Respondent's interest in the

account is offset by the following orders: (1) the $6,000 awarded to Petitioner

from Respondent's retirement account (See paragraph 10) (2) reimbursement

owed to Petitioner in the amount of $7,725.26 (See Paragraph 14), (3) child

support arrears owed to Petitioner in the amount of $3,428 (See Paragraph 13),

$25,000.00 in $ancti.ons payable to Petitioner by Respondent (See Paragraph

                                      -4-
 16).       Therefore, Respondent's interest in Petitioner's CALSTRS retirement

 account is $194.26, The remained of the account is award to Petitioner as her

 sole and separate property.

        9.      IRJliBAllD'8 ·RB1'1RE11Blff ACCOUNTS
                Respondent stated in discovery responses that he has a retirement

account from Chase Bank valued between $10,000 and $12,000.00. The Court

awarded Petitianer $6,000.00 of the account which shall be offset by

Respondent's interest in Petitioner's CALSTRS. retirement.

        10.     C1JBTODY MDV181T,&DQI
                The ·Court awarded sole legal and physical custody of the minor

children to Petitioner. Respondent shall have no contact with the minor child,

B       E     ; Resp'o ndcnt shall have no visitation with the minor child, S    E.

Respondent is permitted to have telephonic contact with minor child, S E

provided the minor child consents. S           E   is permitted to cease telephonic

communication with Respondent at her discretion.

               The Court orders counseling for the minor children under Ji'amily

Code 3190. '11ie Court made custody and visitation orders in the children's best

interest (Family Code 3011) and made Family Code 3942 findings.

               The Court finds that Respondent is not following the court orders

and is in current violation of the court orders as it relates to child custody and

visitation. The Court finds Respondent is not following the court orders and is

violating the colllrt orders as it relates to school and specifically attendance of

                                         -5-
  the minor child, B        E   . The minor child has not attended school since

  October 4, 2021. Respondent has failed to return the minor child, B        E    to

  Petitioner's care despite court order.
                  '
              Respondent has obstructed the minor B               E    's ability to

 receive the services he needs as he is on the Autism Spectrum. B       E   has not

 received the service mandated by his Individual Educational Plan due to

 Respondent's refusal to return the child to school. B     E    has not received the

 therapeutic services (cognitive and behavioral therapy) due to Respondent's

 refusal to return. the child to Petitioner's custody. Due to his conduct resulting

 in medical providers being unwilling to treat child.

            · Respondent has failed to comply with the court ordered Family Code

 730 evahmtion. ln.the event Respondent seeks to comply with the court ordered

 Family Code 730      evafuation, he is to obtain   three names of professionals to

 conduct the evahlation from Petitioner. Respondent is to select one name from

 the names provided by PetitioneJ\

      11.   MAJio.&TORT CUSTODY/VISITATION (J'C.3048).

            1be Court made Family Code 3048 findings. The Court has
jurisdiction over the minor children, as California is the Children's home
state, no other state has assumed jurisdiction, and this Court is the
appropriate forum. The habitual residence of the Children is the County of
San Diego, State of California, United States of America. The parties were
given notice and opportunity to be heard in the manner provided by law.


                                           -6-
Both parties had knowledge of this hearing. Petitioner attended the hearing
and Respondent did not appear. The parties have been previously advised
that any violation of this Order may result in civil or criminal penalties, or
both. Court provided the same advice at the hearing, but Respondent failed
to appear in ~on despite court order.


      12.   CHILD SUPPORT

            After hearing argument and evidence relating to Respondent's

income, the Court determined that Respondent was in violation of the court order

for job contacts. Based on the evidence and arguments, the Court detemrined

Respondent should be imputed at a monthly gross income of $8,010.00. 'lbe

Court determined Petitioner's monthly gross income to be $7,895.00. The Court

accounted for Petitioner's monthly cost of health insurance ($431}, required

monthly union dues ($118) and monthly mandatory retirement ($100) .

            Effective October 1, 2021, the Court ordered Respondent to pay child

support to Petitioner monthly in the amount of $1,714.00. (See Attached

Diaomuter "Bxhlbtt "A•)

            The Court determined the child support payments for October 2021

and November 2021 shall be deducted from Respondent's interest in Petitioner's

retirement account. (See paragraph 8)

            A parent's obligation to make child support payments for a child

shall cease when a given child marries, dies, reaches the age of eighteen (18)

years, becomes emancipated, or upon further order of a court of competent

                                        -7-
 jurisdiction, If, however, upon reaching the age of eighteen (18) years, a given

 child is unmamed, is not self-supporting and is a full-time high school student,

 the support obligation shall continue as to that child pursuant to California

 Family Code ~on 390l(a) until that child marries, dies, becomes self-

 supporting, no longer is a full-time high school student, completes the 12th

 grade or reaches the age of nineteen (19) years, whichever occurs first.

               Child.support shall terminate on the death of Husband.

      13.      rtklpHhidMPDJl'fl8 A10> OVBRPAYIIBIIT o:r SUPPORT

             After hearing argument and evidence relating to reimbursement for

out of pocket medical, dental, orthodontia, and mental health services, the Court

ordered Respondent owed Petitioner $5,457.36 in reimbursement.

            · After hearing argument and evidence relating to overpayment of

support, the Court determined Petitioner overpaid Respondent for child support

in the amount of $2,002.00 for 13 pay periods and an additional $266.00 for the

month of Oct.ober 2021.

            The total reimbursement ordered for mandatory add ons and

overpayment of child and support support owed by Respondent is $7,725.26,

which is to be deducted from his share of Petitioner's retirement account, see

Paragraph 8.
            As of the date of the hearing, there were no other arrears or

overpayments owed for support.

III
                                       -8-
          14.     SPOUSAL SUPPORT

                  After hearing argument and evidence relating to Respondent's

 income, the C ~ determined that Respondent was in violation of the court order
                      I
 for job contacts. !Respondent did not provide the court ordered job contacts for a

 substantial peri¥ of time. Respondent was ordered to make 10 job contacts a

week. Since March 9, 2020, Respondent only submitted job contacts

approximately 15 times. Respondent did not take reasonable steps to obtain

employment.

                Based on the evidence and arguments, the Court determined

Respondent should be imputed at         amonthly gross ~me of $8,010.00.        The

Court determined Wife's monthly gross income to be $7,895.00.

                Petitioner's request to impute income to Respondent retroactive was

denied.

                After hearing argument and evidence relating to Family Court Section

4320 factors the Court ordered th.at spousal support shall be set at 7-ero and

reserved jurisdiction over spousal support. The Court determined the parties'

martial standard. of living was middle class and the marriage was deemed a long-

term marriage.

                The Court determined that Petitioner could not afford to pay for

supposal support and remain at the martial standard of living when considering

her earnings, debts and obligations. Moreover, the Court determined that with

the imputation of income the parties' income was equivalent.

                                          -9-
              Due to the age of the children the Court found that Respondent could

 become employed without unduly interfering with the interest of the · minor

 children.

             The Court found that there was no evidence presented at the hearing

 to prove Respondent's prior allegation that his health impeded his ability to

become employed.

             The Court determined Respondent's conduct and communication

since the separation of the parties was harassing.

             There was no evidence of a specific tax consequence.

             Based on the evidence presented at trial the Court found it was

appropriate to impute income to Husband due to his violation of the court order

regarding job contacts, his ability to become employed, and the opportunity

available to Respondent.

             The Court found Respondent came into court with unclean hand, as

he violated various court orders, including but not limited to the job contacts

order, final disclosures, child custody orders, failure to allow the minor child to

attend school, taking the minor child out of state, completion of a 730 evaluation,

and appearing in court in-person.

             Petitioner does not owe Respondent any monies for support during

the time when the court ordered a stay of spousal support. The Court determined

no spousal support arrears were owed to Respondent. Spousal support was set

at zero and the Court reserved jurisdiction over spousal support.
       15.   ATTGRRBY'S FEES AND SllCTIOllS

              Petitioner's request for attorney's fees under Family Code 2030 was

denied.

             Petitioner's request for sanctions pursuant to Family Code 271 was

granted and the Petitioner was -a warded $25;000.00m which is to be deducted

from Respondent's interest in Petitioner's CALSTRS retirement account. The

Court detei':m.ined sanctions were wan-anted due to Respondent's conduct.

Respondent's conduct did not promote settlement, but rather promoted

litigation. 'nle court found that Respondent repeatedly violated court orders and

remained in violation of court orders at the time of trial. Respondent's conduct

has reSUlted in three medical professionals and an entire practice refusing to

treat their children with their therapeutic needs.

             Respondent refused to return the minor child, B      E    to the care

and cusuxfy of Petitioner despite the court order. His repeated violations of the

court order caused unnecessary legal fees and hearings to be scheduled in an

attempt to have Respondent honor the court orders.

             Respondent removed the child from the state, which is a further

violation of the Court order.
             Respondent refused to allow the child to return to school, which

prevent him for receiving not only his education but the services associated with

his IEP.

III
                                      -11-
               Despite the Court order for Respondent to appear in person,

 Respondent refused to attend various hearings including ex partes that he

 scheduled.

               Respondent was ordered to not have contact with the children's

 therapeutic providers, but continued to violate the court order.

              Respondent allowed a third party to record a therapeutic meeting

 and was in possession of recordings of judicial proceedings.

              Respondent's communication with Petitioner was deemed to be

harassing as was his communication with third parties in relation to Petitioner.

              Respondent filed countless pleadings with the court in an attempt

to have Commissioner Ratekin disqualified, which caused unnecessary and

avoidable legal fees.

      16.     J11UL JUDICIAL CUSTODY DBTDIIDIA'l'iOR.

              After hearing argument and evidence relating to child custody and

visitation the court ordered the visitation orders as indicated in para.graph 10

were intended to constitute a final judicial custody determination pursuant to

Montenegro v. Diaz (2001} 26 Cal.4th 249. In 1;he event either party wishes to

modify the child custody, visitation or sharing provisions stated herein, that

party shall be required to demonstrate a significant change of circumstances

justifying such a modification. As indicated above the Court indicated its orders

were in the best interests of the minor children.

III
                                      -12-
       17.   PRlVATB CHILD SUPPORT COLLECTOR (IIAl'fDATORY).

             In the event that there is a contract between a party receiving

support and a private child support collector, the party ordered to pay support

must pay the fee charged by the private child support collector. This fee must

not exceed 33 1 / 3 percent of the total amount of past due support nor may it

exceed 50 percent of any fee charged by the private child support collector. The

money judgment created by this provision is in favor of the private child support

collector and the party receiving support, jointly.

      18.    Qffli,Q CA8I CQffl.

             Each party shall be equally responsible for the child care expenses

inOWTCd by such party whether incurred as a result of employment, educational

training, education, training for employment or for any other ~son.

      19.    IDDICAL BXPBi18B8 .AllD DISURAIICB l'OR CBILD/CIIILDRD.

             Petitioner shall maintain in full force and effect any presently

existing or comparable health, dental, accident and/ or hospitalization

insurance coverage for the benefit of the parties' minor child for so long as her

employer provides coverage.

             Should Petitioner change employment in the future, she shall

immediately acquire and maintain equivalent or comparable coverage as is

available through her new employment.

III
III
             Petitioner shall notify Respondent immediately of any potential or

 actual termination, lapse, or change in the coverage. Petitioner shall keep all

 required premiums current on the insurance.

      ~.
            The Court ordered that both Minor's Counsel assigned to the matter

shall be relieved of their respective duties thirty (30) days after the entry of the

Judgement. The Court ordered the respective fess of each Minor's Counsel shall

be paid at the county rate. Each Minor's Counsel is ordered to submit the

necessary paperwork t.o receive payment from the county, if he/ she has not done

so prior to the date of the hearing.




                             :am OP A'M'ACIIIIBl.ff




                                       -14-
